                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In the Matter of:                                     }
 KATHRYN LARISSA ABBOTT                                }    CASE NO. 18-83555-CRJ-7
 SSN: XXX-XX-9449                                      }
                                                       }
                                                       }    CHAPTER 7
 Debtor(s).                                            }


                   ORDER DENYING MOTION TO CONVERT TO CHAPTER 13

         This case came before the Court on February 4, 2019 on Debtor’s Motion to Convert to Chapter

 13. Appearing at the hearing were Jackie Ferguson Graham, Esq., counsel for the Debtor; Kevin Morris,

 Esq., counsel for the Chapter 7 Trustee; Richard Blythe, Esq., counsel for the Bankruptcy Administrator;

 and Michele T. Hatcher, Chapter 13 Trustee.

         The Debtor filed a voluntary Chapter 7 petition on November 30, 2018, valuing her one-half

 unencumbered interest in a wooded lot located adjacent to her home at $4,000.00. Upon learning that the

 Chapter 7 Trustee seeks to liquidate the property for the benefit of the estate, the Debtor now seeks to

 convert her case to Chapter 13 to pay the value of the unencumbered property through a Chapter 13 plan

 over a period of three to five years. During the hearing, counsel for the Chapter 7 Trustee reported that the

 Debtor testified under oath during her § 341 Meeting of Creditors that she valued her interest in the property

 at $4,000.00. Following further investigation, the Chapter 7 Trustee determined that the Debtor’s one-half

 interest in the property is valued at approximately $10,000.00. The Chapter 7 Trustee opposes the Motion

 to Convert and seeks to liquidate the property for the benefit of the estate.

         At the conclusion of the hearing, the Court took the matter under advisement. The Court has now

 considered the requested relief, the arguments of counsel, and the applicable law and finds that the Motion

 to Convert should be denied because the benefit to creditors from the immediate liquidation of the

 unencumbered asset outweighs the benefit to the Debtor.




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         IT IS THEREFORE ORDERED, ADJUDGED and DECREED that the Debtor’s Motion to

 Convert is hereby DENIED.



 Dated this the 5th day of February, 2019.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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